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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

BAY CLUB MEMBER’S, LLC,
RICHARD REILLY,

JOAN KELLY,

MARY ANN SULLIVAN,
WILLIAM J. HEWITT,
MELISSA GORDON,

MATT COSTA,

JON A. CIFFOLILLO, and
MICHAEL F. STAUFF,

Plaintiffs,

CIVIL ACTION
NO. 21-11791-WGY

Vv.

SELECTIVE INSURANCE COMPANY
OF AMERICA,

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Defendant. )
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YOUNG, D.J. November 9, 2023

MEMORANDUM OF DECISION AND ORDER

Bay Club Members, LLC (“Bay Club”) and Selective Insurance
Company of America (“Selective”) each have independently moved
for summary judgment as matter of law. See Bay Club’s Mot.
Summ. J. (the “Bay Club Mot.”), ECF No. 67; Selective’s Mot.
Summ. J. (“Selective Mot.”), ECF. No. 70. Selective moves for
summary judgment on all counts, while Bay Club only moves for
partial summary judgment on counts I and II. See Bay Club Mot.,

ECF No. 67; Selective Mot., ECF. No. 70.
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I. INTRODUCTION

A. Undisputed Facts

Bay Club was created in June 2006 under the Delaware
Limited Liability Act. Bay Club's Resp. Selective's Statement
Facts (“Bay Club’s Resp. S.O.F.”) 2, ECF. No. 82. Bay Club’s
primary place of business is Massachusetts, and the named
plaintiffs, all Board Members of Bay Club, each reside in
Massachusetts. Am. Compl. 1-2, ECF No. 19; Bay Club’s Resp.
S.O.F., ECF. No. 82. On July 10, 2006, the unitholders of Bay
Club entered into a Limited Liability Operating Agreement to
govern the management and operation of Bay Club (the “Operating
Agreement”). Bay Club’s Resp. S.O.F. 2, ECF. No. 82;
Selective's Resp. Bay Club's S.O.F. 1, ECF No. 84. Walter
Uihlein (“Uihlein”) was an initial Board Member and served as a
“Managing Director” of Bay Club from 2006 to 2007. Id. at 3.
According to the Operating Agreement, internal disputes related
to violations of the Operating Agreement are to be resolved --
as a last resort -- through arbitration. Id. at 3.

In 2018, Selective Insurance Company of America, a New
Jersey corporation with its primary place of business in New
Jersey, issued to Bay Club a private company management
liability policy with an effective policy period from December

10, 2018, to December 10, 2019. Am. Compl. 2, ECF No. 19;
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Selective's Resp. Bay Club's S.0.F. 3, ECF No. 84. The
pertinent portions of the Policy read as follows:

SECTION IX — DUTIES IN THE EVENT OF A CLAIM

If during the “policy period” the “insured” becomes
aware of a specific “wrongful act” believed likely to
give rise to a “claim” and provides the “insurer”
written notice of such “wrongful act” and the
particulars involved as soon as practicable, but no
later than the expiration of the policy, then any
claim subsequently made arising out of such wrongful
act shall be deemed to have been made when notice of
the “wrongful act” was first given.

SECTION XI — EXCLUSIONS
The “insurer” shall not be liable for “loss” from any
“claim”:
J. for any actual or alleged liability assumed under
the terms, conditions or warranties of any oral,
electronic, or written contract or agreement. However,
this exclusion does not apply:
1. to liability the “insured” would have in the
absence of such contract or agreement;
2. to “insureds” under Section I. A. and I. B. under
Coverage Part A.

COVERAGE PART A (“I. A.”)
SECTION I — INSURING AGREEMENTS
A. Individual Liability
The “insurer” shall pay on behalf of the “insured
persons” all “loss” which the “insured persons” shall
be legally obligated to pay as a result of a “claim”
first made against the “insured persons” during the
“policy period” or the Extended Reporting Period for
“wrongful acts”, except for any “loss” which the
“company” actually pays as indemnification.

B. Company Liability

The “insurer” shall pay on behalf of the “insured
entity” all “loss” which the “insured entity” shall be
legally obligated to pay as a result of a “claim”
first made against the “insured entity” during the
“policy period” or the Extended Reporting Period for
“wrongful acts”.

SECTION II — DEFINITIONS
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A. “Claim” means:

1. written demand for monetary or non-monetary
damages, including injunctive relief, made
against an “insured”;

2. Civil or criminal judicial, administrative or
regulatory proceeding for monetary, non-monetary
or injunctive relief begun against an “insured”,
including any appeal thereof.

3. arbitration proceeding begun against an “insured”
by serving of a demand for arbitration

Cc. “Insured” means the “insured entity” and all
“insured persons”.

E. “Insured persons” means all person who were, now
are, or will be directors, officers, management
committee members, members of the board of managers
or natural person general partners of the “company”
and all “employees”.

F. “Loss” means:

1. damages, settlements or judgments;

2. pre-judgment or post-judgment interest;

3. costs or fees awarded in favor of the claimant;

4. to the extent insurable by law and subject to the
applicable law most favorable to the insurability
of such damages, punitive or exemplary damages,
or the multiplied portion of a multiple damages
award; and

5. “defense costs”.

“Loss” does not include:

1. amounts for which the “insured” are not legally
liable;

2. amounts which are without legal recourse to the
“insureds”;

3. taxes, fines or penalties;

I. “Shareholder derivative action” means a civil
proceeding in a court of law brought by one or more
of the “company’s” shareholder(s) against any
“insured person” for a “wrong act”.

J. “Wrongful act” means:
1. any actual or alleged act, omission, error,
misstatement, misleading statement, neglect or
breach of duty by the “insured entity”
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SECTION III — EXCLUSIONS
A. Exclusions applicable to all Insuring Agreements
3. (“Insured v. Insured Exclusion”) made by or made
on behalf of the “company”, or any security
holder of the “company”, or any “insured person”.

This exclusion does not apply to:

b. a “shareholder derivative action”, but only if
brought and maintained without the
solicitation, approval, assistance, active
participation or intervention of any “insured”
and only if independent of the actions of any
“insured” or party affiliated with that
“insured”.

e. any “claim” brought by any former director or
officer who has not served as director,
officer, trustee, governor, management
committee member, member of the management
board, general counsel or risk manager (or
equivalent position) or consultant for the
“company” for at least three (3) years prior to
the commencement of such “claim”, if the former
directors or officer bringing such “claim” is
acting totally independent of, and without the
solicitation, assistance, active participation
or intervention of any Directors or Officers or
the “company”.

Am. Compl., Ex. A, Selective Insurance Policy (“Policy”),
ECF No. 19.

In 2019, Bay Club proposed a financial transaction to
address Bay Club’s financial obligations called “The Way
Forward.” Selective's Resp. Bay Club's S.0O.F. 8, ECF No.
84. “The Way Forward” would change how property was
transferred to club members. Id. On October 31, 2019,
Uihlein served Bay Club with a dispute notice (the “Uihlein
Claims”) regarding “The Way Forward.” Selective's Resp.

Bay Club's S.0O.F. 9, ECF No. 84. On November 5, 2019,
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trustees of the Shemamedoit Trust III (“Trust III”), a
unitholder of Bay Club, also served Bay Club with a dispute
notice (the “Trust III Claims”) concerning “The Way
Forward.” Selective's Resp. Bay Club's S.0O.F. 9, ECF No.
84; Bay Club’s Resp. S.0O.F. 7, ECF. No. 82. Bay Club
notified Selective of these dispute notices on November 13,
2019. Id.

On May 6, 2020, Trust III commenced an arbitration
proceeding against Bay Club in Massachusetts. Id. The
Trust III Claims were brought on behalf of “all other
similarly situated members of the Company in both a direct
and derivative basis.” Id. The Trust III Claims were
brought for alleged violations of fiduciary duty and breach
of the operating agreement. Selective's Resp. Bay Club's
S.O.F. 10, ECF No. 84; Selective's S.O.F. Supp. Mot. Summ.
J. (“Selective’s S.O.F.”) 7, ECF No. 72. Bay Club notified
Selective the very next day, May 7, 2020. Id. Selective
responded with a letter denying coverage to Bay Club on
June 2, 2020. Id. On September 14, 2020, Uihlein joined
the arbitration by filing an additional demand for
arbitration that incorporated the Trust III Claims and
added an additional count. Id. at 10-11. Uihlein’s
intervention was brought both to pursue his own claims

against Bay Club and on behalf of “all other similarly
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Situated members of the Company in both a direct and
derivative basis.” Id.; Bay Club’s Resp. S.0O.F. 8-9, ECF.
No. 82. On June 28, 2021, Bay Club notified Selective of
the Uihlein demand for arbitration. Id. at 12. Selective
concedes that Uihlein brought his claims independent of
current directors and officers and of Bay Club. Id. at 11.
After being informed that Uihlein was a former director,
Selective denied coverage in a letter dated August 5, 2021.
Id. at 10. Selective concedes the underlying arbitration
is a “claim” under the Policy. Id.

On January 5, 2022, a final order and award issued
against Bay Club. Id.; Bay Club’s Resp. S.O.F. 12-13, ECF.
No. 82. The final award granted $750,000 to Trust III and
$750,000 to Uihlein. Selective's Resp. Bay Club's S.0O.F.
12, ECF No. 84; Bay Club’s Resp. S.O.F. 12-13, ECF. No. 82.
Further, if Bay Club succeeds in its action against
Selective, the award also entitles Uihlein to a portion of
Bay Club’s award, up to, but not beyond, another $750,000.
Bay Club’s Resp. S.0O.F. 12-13, ECF. No. 82. On January 21,
2022, Trust III brought suit in Delaware, the “Delaware
Action,” partially to vacate the final order. Id. at 13.
Selective was notified on January 25, 2022, of the Delaware
Action. Id. at 14. The Delaware Action in no way concerns

the Uihlein Claims. Bay Club’s Resp. S.0O.F. 14, ECF. No.
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82. Selective sent a letter on March 4, 2022 denying any
obligation to defend or indemnify Bay Club with regard to
the Delaware Action. Id. at 15.

B. Procedural History

On November 4, 2021, Bay Club commenced this suit
against Selective seeking relief for breach of contract,
alleged violations of Massachusetts General Laws chapters
93A and 176D, and declaratory relief. Compl., ECF No. 1.
Bay Club then filed an amended complaint on March 9, 2022,
putting forth three causes of action: breach of contract
(count I), declaratory judgment (count II), and violation
of Massachusett’s General Laws chapters 93A and 176D (count
III). Am. Compl., ECF No. 19. Bay Club then filed a
motion for partial summary judgment on its first two counts
to determine the extent Selective has a duty to defend and
indemnify. Bay Club Mot., ECF No. 67. In Bay Club’s
motion for partial summary judgment, it contends that
Selective owes it a duty to defend or, if there was no duty
to defend, that the Policy provides illusory coverage. See
Bay Club’s Mem. Supp. Mot. Summ. J. (“Bay Club’s Mem. in
Supp.”) 17, ECF No. 68.

Selective responded with a motion for summary judgment
as to all counts. Selective Mot., ECF No. 70. Selective

argues that neither the Uihlein Claims nor the Trust III
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Claims fall into any exceptions to the Insured v. Insured
Exclusion within the Policy and that Bay Club’s contractual
claims are barred by the Contractual Liability Exclusion.
Selective's Mem. Supp. Mot. Summ. J. (“Selective’s Mem. in
Supp.”) 2, ECF No. 71; Policy § XI(J)(1), (2), ECF No. 19.
Both parties have fully briefed the issues and have filed
multiple statements and responses to statements of
undisputed facts. Bay Club’s Mem. Supp., ECF No. 68; Bay
Club's S.O.F. Supp. Mot. Summ. J., ECF No. 69; Selective’s
Mem. Supp., ECF No. 71; Selective’s S.0.F., ECF No. 72; Bay
Club's Mem. Opp'n Selective's Mot. Summ. J., ECF No. 81;
Bay Club’s Resp. S.0O.F., ECF No. 82; Selective's Mem.
Further Supp. Summ. J. and Opp'n Bay Club's Mot. Summ. J.,
ECF No. 83; Selective's Resp. Bay Club's S.0.F., ECF No.
84; Selective's Resp. Bay Club's Resp. (ECF No. 82), ECF
No. 87.
II. ANALYSIS

The question of law is whether Selective, per its Policy
with Bay Club, is required to defend against and indemnify Bay
Club in the actions concerning the Trust III and Uihlein claims.

A. Choice of Law

The Court determines that Massachusetts law governs.
Massachusetts applies a functional test to its choice of law and

determines the governing state law by deciding which state “has
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the most significant relationship to the transaction and the

parties.” Bushkin Assocs., Inc. v. Raytheon Co., 393 Mass. 622,

632 (1985); Reicher v. Berkshire Life Ins. Co. of Am., 360 F.3d

1, 5 (lst Cir. 2004). In so doing, Massachusetts courts
consider:

(a) the needs of the interstate and international

systems, (b) the relevant policies of the forum, (c)

the relevant policies of other interested states and

the relative interests of those states in the

determination of the particular issue, (d) the

protection of justified expectations, (e) the basic

policies underlying the particular field of law, (f)

certainty, predictability, and uniformity of result,

and (g) ease in the determination and application of

the law to be applied.
Bushkin, 393 Mass. at 632 (quoting Restatement (Second) Conflict
of Laws § 6 (1971)). Finally, courts may also consider “(A)
Predictability of results; (B) Maintenance of interstate and
international order; (C) Simplification of the judicial task;
(D) Advancement of the forum's governmental interests; [and] (E)
Application of the better rule of law.” Reicher, 360 F.3d at 5.

In this case, these factors point towards the application
of Massachusetts law. Bay Club and its members reside in
Massachusetts and Bay Club’s primary place of business is in
Massachusetts. Am. Compl. 1-2, ECF No. 19; Bay Club’s Resp.
S.O.F. 2, ECF. No. 82. Further, in insuring Bay Club, Selective

would reasonably know it was most likely that a claim against

Bay Club would be brought, litigated, or resolved in

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Massachusetts, even though there was a possibility litigation
could be brought elsewhere, perhaps in Delaware. Finally, Bay
Club brings claims under Massachusetts General Laws 93A and
176D, related to unfair practices of insurance companies,
implicating the forum’s “governmental interest.” Am. Compl.,
ECF No. 19; Reicher, 360 F.3d at 5. Weighing the factors listed
above heavily indicates that Massachusetts law is the
appropriate law to be applied here. Massachusetts law,
therefore, shall govern in this case.

B. Pleading Standard

Summary judgment is required when “there is no genuine
dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). An issue
of material fact is genuine “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Materiality depends on the substantive law, and only factual
disputes that might affect the outcome of the suit can preclude
summary judgment. Id. In reviewing the evidence, this Court
must “draw all reasonable inferences in favor of the nonmoving
party, and it may not make credibility determinations or weigh

the evidence.” Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 150. This Court must also “disregard all evidence

favorable to the moving party that the jury is not required to

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believe.” Id. at 151. The moving party bears the initial burden
of demonstrating that “the nonmoving party has failed to make a
sufficient showing on an essential element of her case with

respect to which she has the burden of proof.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). If the movant does so, then
the nonmovant must set forth specific facts sufficient to

establish a genuine issue for trial. Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986).

“The [Summary judgment pleading standard is] the same
where, as here, both parties have moved for summary judgment.”

Bienkowski v. Northeastern Univ., 285 F.3d 138, 140 (1st Cir.

2002). The fact that both parties have moved for summary
judgment on the same issues, “neither dilutes nor distorts” the

summary judgment standard of review. See Hartford Fire Ins. Co.

v. CNA Ins. Co., 633 F.3d 50, 53 (lst Cir. 2011). When courts

are considering cross-motions for summary judgment, they must
“consider each motion separately, drawing all inferences in

favor of each non-moving party in turn.” AJC Int'l, Inc. v.

Triple-S Propiedad, 790 F.3d 1, 3 (1st Cir. 2015) (quoting D & H

Therapy Assocs., LLC v. Bos. Mut. Life Ins. Co., 640 F.3d 27, 34

(lst Cir. 2011)). “Cross-motions for summary judgment do not
alter the summary judgment standard, but instead simply ‘require
[the Court] to determine whether either of the parties deserves

judgment as a matter of law on the facts that are not

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disputed.’” Wells Real Estate Inv. Tr. II, Inc. v. Chardén/Hato

Rey P'ship, 615 F.3d 45, 51 (lst Cir. 2010) (quoting Adria Int'l

Grp., Inc. v. Ferré Dev., Inc., 241 F.3d 103, 107 (list Cir.

2001)). The Court must “in each instance [determine] whether

the moving party has met its burden under Rule 56.” Dan Barclay,

Inc. v. Stewart & Stevenson Servs., Inc., 761 F. Supp. 194, 197-

98 (D. Mass. 1991) (Caffrey, J.).
The interpretation of an insurance policy is matter of law

properly fitted to summary judgment. U.S. Liab. Ins. Co. v.

Benchmark Const. Serv., Inc., 797 F.3d 116, 119 (lst Cir. 2015);

Scottsdale Ins. Co. v. Torres, 561 F.3d 74, 77 (lst Cir. 2009);

Home Ins. Co. v. Liberty Mut. Fire Ins. Co., 444 Mass. 599, 601

(2005); Dorchester Mut. Ins. Co. v. Krusell, 485 Mass. 431, 436-

37 (2020). The Court enforces the plain, ordinary, and definite

meaning of the provisions of insurance policies. Clark Sch. for

Creative Learning, Inc. v. Philadelphia Indem. Ins. Co., 734

F.3d 51, 55 (lst Cir. 2013); Brazas Sporting Arms, Inc. v. Am.

Empire Surplus Lines Ins. Co., 220 F.3d 1, 4 (1st Cir. 2000);

McGilloway v. Safety Ins. Co., 488 Mass. 610, 613-14 (2021). A

provision is considered ambiguous where the “policy language is
susceptible to more than one rational interpretation.” Clark

Sch., 734 F.3d at 55 (quoting Valley Forge Ins. Co. v. Field,

670 F.3d 93, 97 (1st Cir. 2012)); Brazas Sporting Arms, 220 F.3d

at 4-5. Under such circumstances, ambiguities are to be

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“construed in favor of the insured.” Clark Sch., 734 F.3d at

55. Here there are no issues of material fact that affect the
Court’s decision on this issue, and therefore the question of
law before it can be decided now.

This dispute primarily arises out of the Policy’s Insured
v. Insured Exclusion. Policy I. A. §§ III(A) (3), III(A) (3) (b),
ITI (A) (3) (e). That exclusion is standard, and its purpose is to
prevent insured parties from suing one another to reap financial

reward from insurance companies. See In re Molten Metal Tech.,

Inc., 271 B.R. 711, 728 (Bankr. D. Mass. 2002). In other words,
these exclusions are placed into contracts out of fear of
possible collusion. Id. Here, the exclusion comes with two
important exceptions: in Coverage Part A Section III(A) (3) (b),
the “Shareholder Derivative Exception,” and in Coverage Part A
Section III(A) (3) (e), the “Former Director and Officer
Exception.” Policy I. A. §§ III(A) (3), III(A) (3) (b),
III(A) (3) (e). These exceptions restore coverage for actions
otherwise excluded, such as those brought by insureds. Id. The
Insured v. Insured Exclusion excludes shareholder derivative
suits except those “brought and maintained” without any activity
or coordination with an “insured.” See id. I. A. § III(A) (3),
III (A) (3) (b). Finally, the Former Director and Officer

exception restores coverage to “any ‘claim’ brought by any

former director or officer” that would “roughly [sketch] a claim

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covered by the Policy terms” if brought three years after their
service as a director or officer and brought completely
independent of current directors and officers or Bay Club. Id.
I. A. §§ III(A) (3), III(A) (3) (e).

C. Counts I and II: Breach of Contract and Declaratory
Relief

1. Duty to Defend

Selective had a duty to defend once the Uihlein Claims were
filed. Selective's Resp. Bay Club's S.0O.F. 9, ECF No. 84. A
duty to defend is “triggered where the allegations in [a]
complaint ‘are reasonably susceptible of an interpretation that
states or roughly sketches a claim covered by the policy
terms,’” regardless of whether the claim might fail. Holyoke

Mut. Ins. Co. in Salem v. Vibram USA, Inc., 480 Mass. 480, 483-

84 (2018) (quoting Billings v. Commerce Ins. Co., 458 Mass. 194,

200 (2010)). The duty to defend and the duty to pay defense

costs are identical in Massachusetts. Mount Vernon Fire Ins.

Co. v. Visionaid, Inc., 477 Mass. 343, 353 (2017). The duty to

defend is determined by comparing the allegations in the
complaint with the language of the insurance policy. Id. at 577

(quoting Deutsche Bank Nat'l Ass'n v. First Am. Title Ins. Co.,

465 Mass. 741, 744-45 (2013)). Further, any uncertainty as to
whether claims are reasonably covered is “resolved in favor of

the insured.” Id. Where an insurer has a duty to defend one

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count of a complaint, it “must defend them all.” Mt. Airy Ins.

Co. v. Greenbaum, 127 F.3d 15, 19 (1st Cir. 1997). Finally,

there is no duty to defend claims that are “specifically

excluded from coverage.” Id.; see also Clarendon Nat'l Ins. Co.

v. Philadelphia Indem. Ins. Co., 954 F.3d 397, 405 (lst Cir.

2020).
a. UVihlein Claims

Selective had a duty to defend against the Uihlein Claims.
The claims brought by Uihlein are “reasonably susceptible of an
interpretation that states or roughly sketches a claim covered
by the policy terms.” Holyoke, 480 Mass. at 483-84; Policy §§
XI (J) (1), XI (J) (2), I. A. II(A) (3), I. A. III(A) (3) (e), ECF No.
19. The Policy includes a Former Directors and Officers
exception to the Insured v. Insured Exclusion. Id. I. A. §§
ITI (A) (3), III(A) (3) (e). Under this exception, “any ‘claim’
brought by any former director or officer” would “roughly
[sketch] a claim covered by the Policy terms” if brought three
years after their service as a director or officer and brought
completely independently of current directors and officers or
Bay Club. Id. I. A. §§ III(A) (3), III(A) (3) (e); Holyoke, 480
Mass. at 483-84. The Uihlein Claim clears these hurdles.
Uihlein has not been a director or officer for well over a
decade and his claims, as stated by Selective, were brought

independently of any current directors, officers, or Bay Club

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itself. Selective's Resp. Bay Club's S.O.F. 11, ECF No. 84. In
other words, this Court determines that Selective had a duty to
defend Bay Club against the Uihlein Claims due to the coverage
provided by the Former Directors and Officers exception to the
Insured v. Insured Exclusion. As the Policy provides, Selective
is obligated to provide for a defense to “any ‘claim’” brought
by a former director or officer of Bay Club. Further, Selective
is required to indemnify Bay Club for any “loss” originating out
of any covered “claim” the “insured persons” or company are
legally obligated to pay. Policy I. A. §§ I(A), I(C), II(A),
II(C), II(E), II(F). Thus, this Court determines that Selective
breached the contract by not defending or indemnifying Bay Club
concerning these claims.
b. Trust III Claims

Selective did not have a duty to defend against the Trust
III Claims. Although Trust III’s Claims constitute claims under
the Policy, they are “specifically excluded from coverage.”
Policy I. A. §§ II(A) (3), III(A) (3) (b), ECF No. 19; Mt. Airy,
127 F.3d at 15. Under the Policy, shareholder derivative suits
are defined as civil proceedings brought “in a court of law.”
Policy § II(I), ECF No. 19. Further, there exists the Insured
v. Insured Exclusion. Id. § III(A)(3). That provision excludes
shareholder derivative suits except those “brought and

maintained” without any activity or coordination with an

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“insured.” See id. § III(A) (3) (b). Here, Trust III brought its
claims in arbitration, not “in a court of law.” Policy I. A. §§
II(I); Bay Club’s Resp. S.O.F. 7, ECF. No. 82; Selective's Resp.
Bay Club's S.0.F. 9, ECF No. 84. That fact alone disqualifies
this action from coverage for Bay Club under Coverage Part A
Section II(I), since the Shareholder Derivative Exception to the
Insured v. Insured Exclusion would not be viable by definition
without an actual shareholder derivative suit. Policy I. A. §
II (A) (I), ECF No. 19. Beyond that disqualification, the further
addition of Uihlein to the arbitration in September of 2020 also
violates the shareholder exception to the Insured v. Insured
Exclusion because Trust III’s action would no longer be “brought
and maintained” without the “participation” of an “insured,” as
Uihlein is a former director. Id. § III(A) (3) (b). In either
case, the Trust III Claims were “specifically excluded from
coverage” and therefore Selective did not have a duty to defend.
Mt. Airy, 127 F.3d at 15. Since Selective did not owe a duty to
defend Bay Club over the Trust III Claims, Selective does not
owe coverage to Bay Club over the Delaware Action -- an action
brought only by Trust III. Bay Club’s Resp. S.0O.F. 14, ECF. No.
82. This Court determines Selective did not have a duty to
defend against the Trust III Claims and therefore did not breach

the contract with Bay Club regarding these claims.

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2. Illusory Coverage

The Insured v. Insured Exclusion does not constitute
illusory coverage. Illusory coverage occurs when a provision in
an insurance policy “negates the very coverage that the policy
purports to provide,” and in so doing frustrates the insured’s

reasonable expectations. Liberty Mut. Ins. Co. v. Tabor, 407

Mass. 354, 358 (1990); Leinas v. Liberty Mut. Ins. Co., 37 Mass.

Apt. Ct. 952, 953 (1994). Illusory coverage may occur from a
far-reaching exclusion. Illusory coverage does not exist,
however, if the Policy “still provides coverage for some acts.”

Bagley v. Monticello Ins. Co., 430 Mass. 454, 459 (1999).

The coverage Selective provided in its policy was not
illusory. Bay Club contends that if Selective’s policy did not
create a duty to defend that it has provided illusory coverage.
See Bay Club’s Mem. Supp. 17, ECF No. 68. Since Selective did
have a duty to defend against the Uihlein Claims, Bay Club’s
only assertion of illusory coverage concerns the Trust III
Claims and the Shareholder Derivative Exception. See id.;
Policy §§ II(A) (3), III(A) (3) (b), ECF No. 19. Bay Club’s
primary assertion of illusory coverage concerns the restriction
of shareholder derivative suits to actions “in a court of law.”
Bay Club’s Mem. Supp. 17, ECF No. 68. Bay Club goes on to
suggest that the Policy’s definition of shareholder derivative

suits as being brought “in a court of law” makes it illusory

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because of the Operating Agreement’s compelled arbitration for
such suits. See Bay Club’s Mem. Supp. 18, ECF No. 68; Policy §§
II(I), ITI(A) (3) (b), ECF No. 19; Bay Club’s Resp. S.O.F. 2, ECF.
No. 82; Selective's Resp. Bay Club's §S.0.F. 1, ECF No. 84.

This, however, is not illusory coverage.

Illusory coverage requires a provision of the Policy to
negate the coverage provided elsewhere in the same policy.
Tabor, 407 Mass. at 358; Leinas, 37 Mass. Apt. Ct. at 953.

Here, a secondary contract, the Operating Agreement, not the
Selective policy, limited shareholder derivative suits to
arbitration. Bay Club’s Resp. S.O.F. 2, ECF. No. 82;
Selective's Resp. Bay Club's S.O.F. 1, ECF No. 84. The Policy
also “still [provides] coverage for some acts.” Bagley, 430
Mass. at 459. Trust III could have brought its claims as a
violation of fiduciary duty statutorily established under
Delaware law. Finally, in this case, Bay Club would still not
have access to the Shareholder Derivative Exception due to
Uihlein, an insured, joining the arbitration. Selective's Resp.
Bay Club's S.0.F. 10-11, ECF No. 84; Policy § III(A) (3) (b), ECF
No. 19. Due to the Operating Agreement, this Court determines
that Selective did not provide illusory coverage to Bay Club and
therefore did not breach the contract with Bay Club regarding

these claims.

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3. Contractual Liability Exclusion

No claims are barred by the Contractual Liability
Exclusion. Policy §§ XI(J) (1), XI (J) (2), ECF No. 19.
According to that section, exemptions to this exclusion include
liability that would otherwise exist absent a contract or
agreement and “*‘insureds’” under Sections I. A. and I. B. under
Coverage Part A.” Id. The fiduciary claims of Trust III and
Uihlein are encompassed by the former exemption and Uihlein’s
contractual claims are preserved by the latter exemption. Thus,
Trust III’s Claims although not barred by the Contractual
Liability Exclusion are barred for failing to meet an exception
to the Insured v. Insured Exclusion. The Uihlein Claims, both
contractual and fiduciary, survive the Contractual Liability
Exclusion and are covered due to the Former Directors and
Officers Exception to the Insured v. Insured Exclusion.

D. Count III: Massachusetts General Laws Chapters 93A and
176D

The violation of Massachusetts General Laws chapters 93A
and 176D is matter of fact to be determined by a fact finder.

See Clarendon Nat'l Ins., 954 F.3d at 409; Rawan v. Cont'l Cas.

Co., 483 Mass. 654, 663 (2019); Mass. Gen. Laws Ann. ch. 93A,
ch. 176D. Unfair claim settlement practices under Massachusetts
General Law chapter 176D include “the failure to ‘effectuate

prompt, fair and equitable settlements of claims in which

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liability has become reasonably clear.’” Rawan, 483 Mass. at
663. Further, an insurer’s “refusal to pay claims ‘without
conducting a reasonable investigation based on all available
information,’” would also violate chapter 176D. Id. For
consumers, like Bay Club, “a violation of chapter 176D, section

3(9) constitutes a violation of chapter 93A.” Clarendon Nat'l

Ins., 954 F.3d at 409; Rawan, 483 Mass. at 663. These statutes
hold insurers to a standard of good faith and fair dealing.

Clarendon Nat'l Ins., 954 F.3d at 409. Bad faith claims require

plaintiffs “produce factual evidence of the defendant's
knowledge and intent.” Id. Finally, although the denial of
coverage “based on an unreasonable interpretation of policy
terms may constitute bad faith, ‘plausible, although ultimately
incorrect’ interpretations of an insured's policy coverage do
not.” Id.

Only Selective has moved for summary judgment on Count III.
Bay Club Mot., ECF No. 67; Selective Mot., ECF No. 70. The crux
of this dispute concerns a complex contract, and there is
currently insufficient evidence to suggest Selective denied
coverage in bad faith. Violations of these chapters turn on

reasonableness, knowledge, and intent - - matters of fact. See

Clarendon Nat'l Ins., 954 F.3d at 409; Rawan, 483 Mass. at 663;

Fed. R. Civ. P. 56(a). Only this Court’s duty to draw all

reasonable inferences in favor of Bay Club saves this count for

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trial. Therefore, Selective’s motion for summary judgment on
this count is denied.
III. CONCLUSION

Bay Club and Selective have each, independently, moved for
summary judgment as matter of law. See Bay Club Mot., ECF No.
67; Selective Mot., ECF. No. 70. Selective owed a duty to
defend and indemnify Bay Club as to claims brought by Uihlein.
Holyoke, 480 Mass. at 483-84; Policy §§ XI(J) (1), XI (J) (2), I.
A. § I(A), I. A. § I(C), I. A. § II(A) (3), I. A. § II(C), I. A.
§ II(E), I. A. § II(F), I. A. § III(A) (3) (e¢), ECF No. 19;
Selective's Resp. Bay Club's S.0.F. 11, ECF No. 84. No claims,
either Uihlein’s or Trust III’s, are barred by the Contractual
Liability Exclusion. Policy §§ XI{J)(1), XI (J)(2), ECF No. 19.
Further, Uihlein Claims fall within the Former Directors and
Officers exception to the Insured v. Insured Exclusion of the
Policy. Policy I. A. §§ III(A) (3), III(A) (3) (e), ECF No. 19.
Therefore, summary judgment was GRANTED to Bay Club and DENIED
to Selective concerning counts I and II in so far as they cover
Uihlein Claims. ECF No. 67. Trust III Claims, however, are
barred by failing to fall within the Shareholder Derivative
Exception to the Insured v. Insured Exclusion. Policy I. A. §§
IIT (A) (3), II(I), III(A) (3) (b), ECF No. 19. Selective did not
owe a duty to defend to claims brought by Trust III and

therefore to any coverage of the Delaware Action. Policy I. A.

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SS II(A) (3), II(I), III(A) (3) (b), ECF No. 19; Mt. Airy, 127 F.3d
at 15; Bay Club’s Resp. S.O.F. 7, ECF. No. 82; Selective's Resp.
Bay Club's S.0.F. 9, ECF No. 84. Thus, summary judgment is
GRANTED to Selective and DENIED to Bay Club on counts I and II
in so far as they concern Trust III Claims. See Bay Club Mot.,
ECF No. 67; Selective Mot., ECF. No. 70. The Policy provisions
governing shareholder derivative suits -- like Trust III Claims
-- do not constitute illusory coverage. Tabor, 407 Mass. at
358; Leinas, 37 Mass. Apt. Ct. at 953; Bagley, 430 Mass. at 459;
Bay Club’s Resp. S.O.F. 2, ECF. No. 82; Selective's Resp. Bay
Club's S.O.F. 1, ECF No. 84. Finally, Selective’s motion for
summary judgment on count III is DENIED because violations of
Massachusetts General Laws chapters 93A and 176D are matters of
fact not properly decided through summary judgment. See
Selective Mot., ECF. No. 70.

SO ORDERED.

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WILLIAM @. *TPUNG
ree
of the
UNITED STATES!

1 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 45 years.

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